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 1   Jeremy R. Morris
     PO Box 1296
 2   Hayden, ID 83835
     Tel: (208) 964-5878
 3
     j.morris@libertyconsulting.us
 4   Attorney for Plaintiffs,

 5
                                  UNITED STATES DISTRICT COURT
 6
                                     FOR THE DISTRICT OF IDAHO
 7
      Jeff Tyler, Brigadier Gen. Bob Brooke,              Civil No.
 8
      Kootenai County Republican Central
 9    Committee,
                                                          MEMORANDUM IN SUPPORT
10                   Plaintiff,                           OF PLAINTIFFS' MOTION FOR
                                                          PRELIMINARY AND
11    v.                                                  PERMANENT INJUNCTION
12    Coeur d’Alene School District #271
13
                     Defendant.
14
15
16          COMES NOW, Plaintiffs, Jeff Tyler, Brigadier Gen. Bob Brooke, and the Kootenai

17   County Republican Central Committee, by and through counsel, Jeremy Morris, pursuant to

18   FRCP 65, respectfully submit this Memorandum in Support of Plaintiffs' Motion for Preliminary
19
     and Permanent Injunction against Defendant (hereinafter, “District #271”) for openly violating
20
     Idaho Code §18-2318, and using §18-2318 as a pretext to engage in Viewpoint Discrimination.
21
     Defendants have not only violated the rights of the Plaintiffs, but also undermined the
22
23   fundamental rights of voters whose right to Equal Protection is under threat.

24
25
                                             BACKGROUND
26
27
28


     MEMORANDUM IN SUPPORT OF MOTION FOR INJUNCTION                                               -1-
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 1          On March 8, 2021, Plaintiffs filed their Original Complaint and Request for Declaratory

 2   Judgment and Damages. Plaintiffs concurrently file their Motion for Preliminary and Permanent
 3
     Injunction with this Memorandum in Support of that Motion.
 4
 5          Idaho Code §18-2318 plainly states that "no person may, within a polling place, or any
 6   building in which an election is being held, or within one hundred (100) feet thereof: (a) Do any
 7
     electioneering; (b) Circulate cards or handbills of any kind." The restriction on electioneering
 8
     ENDS 100 feet from the BUILDING that contains the polling place. Elected Republican Precinct
 9
10   Committeemen legally distributing flyers 101 feet from buildings were forcibly ejected from

11   school property by law enforcement at the direction of the Coeur d’Alene School District. One

12   such person was Brigadier Gen. Bob Brooke who was at Hayden Meadows, alone, holding a
13
     stack of sample ballots close to the road. Mr. Brooke is one of the Plaintiffs.
14
15          Plaintiffs disagree with Defendant that a "polling place" is the entire grounds or property

16   boundary of a school. Plaintiffs request that this Court outline the rights of the parties under
17
     Idaho Code §18-2318. The Defendant applied a different definition to §18-2318 in which the
18
     required electioneering distance from a polling place was not "100 feet from the building" but
19
     rather, 100 feet from the property line." The Defendant argues that as a limited public forum, it
20
21   controls the school property and therefore prohibits all political speech at all times. The

22   Defendant further seeks to institute a novel definition of "polling place" and not the plain
23
     meaning generally understood to be, "the place where a person votes." i.e. Not the football field,
24
     the playground, or the work shed where the lawnmower is kept.
25
26                                   PRELIMINARY STATEMENT

27          In RAV v. City of St. Paul, the U.S. Supreme Court referred to Justice Holmes’s argument
28   that the free speech clause ensures a marketplace of ideas that can compete for acceptance by


     MEMORANDUM IN SUPPORT OF MOTION FOR INJUNCTION                                                     -2-
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 1   citizens seeking the truth. The Court noted that the government may improperly try to use

 2   content or viewpoint discrimination to drive certain ideas out of the marketplace. The
 3
     Government has no authority to “license one side of a debate to fight freestyle, while requiring
 4
     the other to follow the Marquis of Queensbury Rules.” RAV v. City of St. Paul, 505 US 377
 5
     (1992). In this case, CDA School District, under the explicit direction of Dean Keck has, it
 6
 7   would seem, attempted to use law enforcement to drive certain ideas out of the marketplace.

 8          Plaintiffs request that this Court protect not only the interests of KCRCC and its
 9
     members, but also the many thousands of voters in Kootenai County; some of whom get sample
10
     ballots at some precincts and some who do not. If ever there where a 'verboten' Equal Protection
11
     violation, it would be that one sacred right which the United States Supreme Court has declared
12
13   fundamental: the right to vote.

14
                                                  ARGUMENT
15
16   LEGAL STANDARD FOR PRELIMINARY INJUNCTION
17          “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on
18
     the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the
19
     balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.
20
     Natural Res. Def. Council, 555 U.S. 7, 20 (2008). If Plaintiffs show a “likelihood of irreparable
21
22   injury and that the injunction is in the public interest,” a “preliminary injunction is appropriate

23   when a plaintiff demonstrates that serious questions going to the merits were raised and the
24   balance of hardships tips sharply in the plaintiff's favor.” Alliance for the Wild Rockies v.
25
     Cottrell, 632 F.3d 1127, 1134–35 (9th Cir. 2011). Plaintiff meets all the prongs of this test and is
26
     entitled to preliminary injunctive relief.
27
28   I. There is a substantial likelihood that Plaintiffs will prevail on the merits of their case.


     MEMORANDUM IN SUPPORT OF MOTION FOR INJUNCTION                                                        -3-
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 1         A. Plaintiff’s speech is a pure expression of viewpoint, and is therefore “protected
     speech” under the First Amendment of the United States Constitution. The Defendant
 2   "opened the forum" when they allowed other political points of view on their campus.
 3
 4           This Court must apply a strict scrutiny standard to viewpoint discrimination by
 5
     government officials. The Affidavits attached to this Motion for Injunction incontrovertibly
 6
     demonstrate the following:
 7
 8   1) The Defendant allowed certain speech on its properties, but not others.
     2) The Defendant publicly stated that no political speech of any kind was permitted on school
 9   property, but in fact, the Defendant admitted to Jeff Tyler that they actually did allow at least one
10   self-described progressive group to operate a table.
     3) A former Board Member is aware of multiple examples of partisan activities by District #271.
11   [see Seymour Affidavit].
12
             The District does not have a compelling governmental interest to favor Democrats over
13
     Republicans, nor is throwing the Plaintiffs off of school grounds on election day the least
14
15   restrictive means. Therefore, it is likely the Plaintiffs will prevail on the merits of their case.

16
            B. The Secretary of State which controls the administration of elections in Idaho
17   has already defined electioneering at a "polling place" under I.C. §18-2318 as 100 feet from
     the building.
18
             There is a substantial likelihood the Plaintiffs will win on the merits based upon the long-
19
20   recognized understanding that a polling place is that actual place you vote and not the football

21   field or some other part of school property. The poll worker who directed Gen. Bob Brooke was
22   following the rulebook created through the Clerk's Office. The Clerks are governed by the
23
     Secretary of State and this rulebook appears to be ubiquitous to other counties. According to the
24
     training guidebook, “How far away do people need to be from the building if they are
25
26   electioneering? Electioneering is not allowed within 100 feet of the building where voting is

27   taking place. Check the surroundings of your Polling Place and make sure there are no signs

28


     MEMORANDUM IN SUPPORT OF MOTION FOR INJUNCTION                                                        -4-
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 1   within that distance. Be sure to use your electioneering map." Kootenai County Clerk's Poll

 2   Worker Training Questions, page 3, Par. 3. (Exhibit 1).
 3
 4   II. An Injunction is appropriate because the relief sought will serve the public interest as
 5   the Defendant's harm will extend to voters and homeowners.

 6
            If the Defendants are permitted to continue to deter people from legally exercising their
 7
     first amendment rights on election day, the obvious result will be that entire neighborhoods
 8
 9   would not be permitted to have signs at their homes as many are located within 100 feet of a

10   football field, playground, or school bus. Hundreds of homeowners would be subjected to a
11
     $1,000 fine if this new definition of "polling place" were to stand.
12
            Failing to grant the injunction will also harm voters because voters are entitled to equal
13
     protection. Defendant's Policies and Actions with respect to their disregard for I.C. 18-2318 has
14
15   already violated the equal protection of voters because voters in some precincts have access to

16   sample ballots, but voters casting a vote at District #271 do not. In Bush v. Gore, Bush argued
17
     that recounts in Florida violated the Equal Protection Clause because Florida did not have a
18
     statewide vote recount standard. Bush v. Gore, 531 U.S. 98 (2000). Here, some precincts have
19
     one standard widely recognized under the verbiage of "100 feet from the building" as written by
20
21   the Secretary of State, while precincts with polling places operated at District #271 are under a

22   different standard. Defendants, in violation of the Equal Protection Clause, have caused, and
23   will continue to cause, Plaintiffs to suffer undue and actual hardship and irreparable injury.
24
     Plaintiffs have no adequate remedy at law to correct the continuing deprivations of Plaintiffs’
25
     most cherished constitutional liberties.
26
27   III. Failing to grant a Preliminary Injunction will cause irreparable harm to the Plaintiffs
     because there are at least two more elections within the next three months.
28


     MEMORANDUM IN SUPPORT OF MOTION FOR INJUNCTION                                                    -5-
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 1           If this Court were to wait until the conclusion of this case, the Plaintiffs as well as voters

 2   and homeowners subjected to the new definition of "polling place" will face criminal penalties
 3
     for displaying signs in their yards and in the case of the former, voters will have cast votes with
 4
     varying levels of application of the law in different precincts.
 5
 6
     IV. Plaintiffs have a separate, independent right to be free from viewpoint discrimination.
 7
             The First Amendment of the Constitution states that “Congress shall make no law . . .
 8
 9   abridging the freedom of speech.” U.S. CONST. amend. I. Indeed, the Supreme Court has

10   recognized that schools play an essential role in the formation of a free and tolerant society:
11
     “[t]the vigilant protection of constitutional freedoms is nowhere more vital that in the community
12
     of American schools. The classroom is peculiarly the marketplace of ideas.” Tinker, 393 U.S. at
13
     512 (citations omitted); Bible Club v. Placentia-Yorba Linda Sch. Dist., 573 F. Supp. 2d 1291
14
15   (C.D. Cal. 2008); Monteiro v. Tempe Union High Sch. Dist., 158 F.3d 1022, 1027 n.5 (9th Cir.

16   1998). There can be no reasonable dispute that handing out sample ballots is a peaceful,
17
     Constitutionally protected speech. In this case, the Defendant provided knowingly false
18
     statements to the public about its policy regarding political speech on campus when it said "no
19
     person" is permitted to use school property for political purposes. The Defendant admitted to the
20
21   Plaintiffs that this wasn't actually the case. [see Tyler Affidavit].

22
     VI. The threatened injury to Plaintiff outweighs whatever harm the preliminary injunction could
23   cause Defendants.
24
             The only reasonable argument the Defendant can illicit for not allowing this injunction to
25
     go forward, at least until this case is fully litigated, is that somehow KCRCC is a security threat
26
27   on election day. In having a law enforcement officer cite ANTIFA, a designated terrorist

28   organization, it is possible that the CDA School District #271 has decided that the Republican


     MEMORANDUM IN SUPPORT OF MOTION FOR INJUNCTION                                                     -6-
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 1   Party violates I.C. 18-2318 § (d) “engage in any practice which interferes with the freedom of

 2   voters to exercise their franchise or disrupts the administration of the polling place.” And §3
 3
     “[the] sheriff… is hereby authorized to arrest any person violating [these] provisions.” In either
 4
     case, the Republican Party is not a designated terrorist organization, has not violated section (d)
 5
     of I.C. 18-2318 by interfering with voters, and have carefully positioned themselves to be in
 6
 7   compliance of I.C. 18-2318, §1 in exercising First Amendment activities MORE than one

 8   hundred (100) feet from any building or polling place; (the room and/or building where voting
 9
     takes place).
10
                                              CONCLUSION
11
            Plaintiffs respectfully request that this Court issue a Temporary Emergency Injunction or
12
13   at least a Preliminary Injunction while this case is being decided. To fail to do so will harm

14   homeowners who now question whether or not they can display Constitutionally protected
15   political signs. Also, voters have already experienced, and will continue to experience
16
     irreparable harm because some voters get sample ballots and other voters do not, depending on
17
     whether that voter has the unfortunate luck of living in a precinct that votes on District #271
18
19   property.

20
     DATED this 8th day of March 2021.
21
22                                                 /s/ JEREMY R. MORRIS
                                                   Jeremy Morris, Esq.
23                                                 PO Box 1296
                                                   Hayden, ID 83835
24                                                 Tel: (208) 964-5878
25                                                 j.morris@libertyconsulting.us
                                                   Attorney for the Plaintiffs
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27
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